ILND 450 (Rev. Case:    1:08-cv-01939
               10/13) Judgment in a Civil Action Document   #: 104 Filed: 03/28/14 Page 1 of 1 PageID #:838

                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

         Shlomo Leibovitch, et al.                              )
         Plaintiff(s)                                           )   Case No.       08 C 1939
                                                                )
v.                                                              )
         The Syrian Arab Republic, et al.                       )
         Defendant(s)

                                           JUDGMENT IN A CIVIL CASE
Judgment is hereby entered (check appropriate box):

         ☒        in favor of plaintiff(s) Shlomo Leibovitch, Galit Leibovitch, Moshe Leibovitch, Hila Leibovitch, Shmuel
Eliad, and Miriam Eliad
                and against defendant(s) Islamic Republic of Iran and its Ministry of Information and Security
                in the amount of $14.5 million ,

                           which ☐ includes Enter amount pre–judgment interest.
                                    ☐ does not include pre–judgment interest.

     Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

     Plaintiff(s) shall recover costs from defendant(s).


         ☐        in favor of defendant(s) Click here to enter text.
                  and against plaintiff(s)Click here to enter text.
.
     Defendant(s) shall recover costs from plaintiff(s).


         ☐        other:

This action was (check one):

☐ tried by a jury with Judge          presiding, and the jury has rendered a verdict.
☐ tried by Judge Select Judge without a jury and the above decision was reached.
☒ decided by Judge           on a motion for judgment




Date:    3/28/2014                                              Thomas G. Bruton, Clerk of Court

                                                                Ruth O’Shea, Deputy Clerk
